         Case 3:22-cv-00521-REP Document 63-24 Filed 01/12/24 Page 1 of 4




 Wendy J. Olson, ISB No. 7634
 wendy.olson@stoel.com
 Elijah M. Watkins, ISB No. 8977
 elijah.watkins@stoel.com
 Cory M. Carone, ISB No. 11422
 cory.carone@stoel.com
 STOEL RIVES LLP
 101 S. Capitol Boulevard, Suite 1900
 Boise, ID 83702
 Telephone: 208.389.9000
 Facsimile: 208.389.9040

 Attorneys for Plaintiff




                                         UNITED STATES DISTRICT COURT

                                          FOR THE DISTRICT OF IDAHO

 REBECCA SCOFIELD,                                        Case No. 3:22-cv-00521-REP

                            Plaintiff,                    DECLARATION OF REBECCA
                                                          SCOFIELD IN SUPPORT OF
          v.                                              PLAINTIFF’S AMENDED MOTION
                                                          FOR PARTIAL SUMMARY
 ASHLEY GUILLARD,                                         JUDGMENT
                            Defendant.


         I, Rebecca Scofield, declare as follows:

         1.        I am an Associate Professor of History and Department Chair at the University of

    Idaho and am the plaintiff in the above-titled action. I am over the age of 18, am competent

    to testify to the matters set forth herein, and make these statements based on my own

    personal knowledge.

         2.        In late 2022, I was informed that a person I later learned was Ashley Guillard was

    posting videos to the TikTok social media website, in which Ms. Guillard claimed that I was

    romantically involved with K.G., a student at the University of Idaho.


DECLARATION OF REBECCA SCOFIELD IN SUPPORT OF PLAINTIFF’S AMENDED
MOTION FOR PARTIAL SUMMARY JUDGMENT - 1
122037777.1 0079747-00001
         Case 3:22-cv-00521-REP Document 63-24 Filed 01/12/24 Page 2 of 4




         3.        Also in late 2022, I learned that Ms. Guillard was posting videos to the TikTok

    social media website, in which Ms. Guillard claimed that I was involved in the murders of

    University of Idaho students K.G., M.M., X.K., and E.C.

         4.        Ms. Guillard’s statements are false.

         5.        I have never been in a romantic relationship with any student at the University of

    Idaho.

         6.        I have never been in a romantic relationship with K.G.

         7.        I was not involved in any way in the murders of K.G., M.M., X.K., or E.C.

         8.        I did not plan the murders of K.G., M.M., X.K., and E.C.

         9.        I never met K.G., M.M., X.K., or E.C.

         10.       I never taught K.G., M.M., X.K., or E.C.; none of them were ever in a class I

    taught.

         11.       I did not personally know K.G., M.M., X.K., or E.C.

         12.       I was not in Idaho when the murders occurred. Rather, I was in Portland, Oregon,

    visiting friends with my husband. We checked out from our hotel in Portland on the morning

    of November 13, 2022, after the murders had already been committed, and we did not arrive

    back in Idaho until well after they had been discovered and reported to law enforcement.

         13.       Attached hereto as Exhibit A is a true and correct copy of Policy 3205 of the

    University of Idaho’s Faculty Staff Handbook concerning Consensual Romantic or Sexual

    Relationships.

         14.       Attached hereto as Exhibit B is a true and correct copy of Policy 3220 of the

    University of Idaho’s Faculty Staff Handbook concerning Sexual Harassment.




DECLARATION OF REBECCA SCOFIELD IN SUPPORT OF PLAINTIFF’S AMENDED
MOTION FOR PARTIAL SUMMARY JUDGMENT - 2
122037777.1 0079747-00001
         Case 3:22-cv-00521-REP Document 63-24 Filed 01/12/24 Page 3 of 4




         I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

         DATED: January 12, 2024.
                                                              /s/ Rebecca Scofield
                                                              Rebecca Scofield




DECLARATION OF REBECCA SCOFIELD IN SUPPORT OF PLAINTIFF’S AMENDED
MOTION FOR PARTIAL SUMMARY JUDGMENT - 3
122037777.1 0079747-00001
         Case 3:22-cv-00521-REP Document 63-24 Filed 01/12/24 Page 4 of 4




                                 CERTIFICATE OF SERVICE

         I hereby certify that on January 12, 2024, I served a copy of the foregoing via CM/ECF on

the Registered Participant as follows:

         Ashley Guillard
         msashleyjt@gmail.com


                                              /s/ Wendy J. Olson
                                              Wendy J. Olson




DECLARATION OF REBECCA SCOFIELD IN SUPPORT OF PLAINTIFF’S AMENDED
MOTION FOR PARTIAL SUMMARY JUDGMENT - 4
122037777.1 0079747-00001
